         Case 6:22-cv-01460-AN         Document 1            Filed 09/28/22            Page 1 of 39




Eric J. Neiman, OSB #823513
Eric.Neiman@lewisbrisbois.com
Emma P. Pelkey, OSB #144029
Emma.Pelkey@lewisbrisbois.com
LEWIS BRISBOIS BISGAARD & SMITH LLP
888 SW Fifth Avenue, Suite 900
Portland, Oregon 97204-2025
Telephone: 971.712.2800
Facsimile: 971.712.2801

Misha Isaak, OSB #086430
MIsaak@perkinscoie.com
Alex Van Rysselberghe, OSB #174836
AVanRysselberghe@perkinscoie.com
PERKINS COIE, LLP
1120 NW Couch 10 th Floor
Portland, Oregon 97209
Telephone: 503.727.2000
Facsimile: 503.727.2222

Attorneys for Plaintiffs




                              UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                       EUGENE DIVISION

LEGACY EMANUEL HOSPITAL &                               Case No. 6:22-cv-1460
HEALTH CENTER d/b/a UNITY CENTER
FOR BEHAVIORAL HEALTH; LEGACY                           COMPLAINT FOR DECLARATORY
HEALTH SYSTEM; PEACEHEALTH; and                         AND INJUNCTIVE RELIEF
PROVIDENCE HEALTH & SERVICES –
OREGON,

               Plaintiffs,

         vs.

PATRICK ALLEN, in his official capacity as
Director of Oregon Health Authority,

               Defendant.

4868-8709-5093.1
  COMPLAINT FOR DECLARATORY     LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 1     888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
         Case 6:22-cv-01460-AN         Document 1            Filed 09/28/22            Page 2 of 39




                                        INTRODUCTION

         Under Oregon law, individuals who are dangerous to themselves, dangerous to others, or

unable to take care of their own basic needs due to a mental disorder may be civilly committed to

the Oregon Health Authority for involuntary detention and treatment. Involuntary detention due

to mental illness is “a massive curtailment of liberty.” Humphrey v. Cady, 405 U.S. 504, 509

(1972). The State and Federal Constitutions require that mentally ill persons who are

involuntarily detained receive treatment calculated to lead to the end of their involuntary

detention. Or. Advocacy Ctr. v. Mink, 322 F.3d 1101, 1121 (9th Cir. 2003). It is not acceptable
under the law—let alone basic standards of human dignity and decency—to merely “warehouse”

mentally ill individuals away from the community and not provide them appropriate treatment

during their involuntary detention. Sharp v. Weston, 233 F.3d 1166, 1172 (9th Cir. 2000)

(recognizing that “all too often the promise of treatment has served only to bring an illusion of

benevolence to what is essentially a warehousing operation of social misfits”) (quoting U.S. ex

rel. Stachulak v. Coughlin, 520 F.2d 931, 936 (7th Cir. 1975)).

         Civil commitment is “to the Oregon Health Authority for treatment.”

ORS 426.130(1)(a)(C). However, the Oregon Health Authority (OHA) has failed in its

responsibilities to this vulnerable population. Rather than ensure and provide timely access to

meaningful treatment, OHA is abandoning civilly committed patients and leaving them for

extended periods of time in acute care community hospitals. These acute care community

hospitals are not equipped, staffed, or intended to provide long-term treatment for mental illness.

Acute care community hospitals are meant to provide stabilizing treatment to manage the acute

symptoms of patients experiencing severe mental health crises—treatment which involves

emergency care, highly restrictive settings, and constant monitoring. But civilly committed

patients who have already been stabilized (that is, most civilly committed patients) do not need

that kind of care; instead, they need long-term treatment. Long-term treatment aims to do more

than simply manage the patient’s symptoms—it aims to address the patient’s mental illness itself

4868-8709-5093.1
  COMPLAINT FOR DECLARATORY     LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 2     888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
         Case 6:22-cv-01460-AN          Document 1            Filed 09/28/22            Page 3 of 39




with the goal of enabling the patient to recover from their illness and return to the community.

Long-term treatment requires a calmer, less stressful, less-restrictive environment where patients

have more independence, peer support, socialization, and opportunities to develop life and health

skills. Thus, when OHA leaves civilly committed patients indefinitely in acute care hospitals,

they do not meaningfully recover because they are denied access to long-term treatment. This

failure to provide the appropriate level of treatment violates patients’ constitutional rights.

         OHA’s practice also violates the constitutional rights of acute care community hospitals

by taking hospitals’ property with neither due process of law nor just compensation. Instead of

meeting its statutory obligation to provide mental health services and treatment to civilly

committed individuals, the state has inappropriately transferred all of its responsibilities to care

for those individuals to acute care hospitals. OHA’s failure to make even minimal efforts to

locate appropriate long-term treatment facilities for civilly committed individuals forces acute

care hospitals to shoulder the obligation. Because hospitals cannot discharge civilly committed

individuals, who desperately need long-term treatment, OHA’s failure to act means that acute

care hospitals must hold civilly committed individuals for long periods of time. In many cases,

acute care hospitals have held civilly committed individuals for weeks, months, or even the

patient’s entire 180-day commitment period (and sometimes additional recommitment periods).

As a result, acute care hospitals must dedicate significant resources to patients who have no

medical reason to be in acute care settings. These resources include the efforts of physicians,

nurses, other care providers, and hospital staff as well as costs associated with medication,

housing patients who should be elsewhere, injuries to hospital staff, and damage to hospital

property. OHA does not adequately compensate and reimburse hospitals for expending these

resources and fails to assist in the protection of hospital staff and other patients.

         In addition to harming civilly committed individuals and community hospitals, OHA’s

actions also negatively impact the community. Oregon is in the middle of an unprecedented

mental health crisis and community hospitals are desperately needed to treat and stabilize other

4868-8709-5093.1
  COMPLAINT FOR DECLARATORY      LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 3      888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                 Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                 Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
         Case 6:22-cv-01460-AN          Document 1            Filed 09/28/22            Page 4 of 39




vulnerable patients experiencing mental health crises, many of whom are also struggling with

substance abuse disorder and houselessness in addition to mental illness. Because the beds of

acute care hospitals are taken up by civilly committed individuals, who should be transferred to

long-term treatment facilities that can provide them with meaningful treatment, individuals in

acute mental health crises are unable to access care at acute care hospitals.

         OHA has been keenly aware of this problem for years but has done nothing to fix it.

Instead, OHA has abdicated all responsibility for civilly committed individuals, and done

nothing to increase capacity to ensure these individuals have access to appropriate long-term

placements.

         OHA has defended its actions by offering expedited admission to the Oregon State

Hospital (OSH) for certain civilly committed individuals. But OSH has limited expedited

admission to only those civilly committed patients who are severely violent (which most are not)

and gone so far as to require the patient to injure others while in an acute care hospital to even be

considered for admission. While care providers are routinely assaulted (be it kicked, punched,

shoved, or bitten), rarely is that enough to gain expedited admission to OSH. Even when care

providers and others are injured, OHA routinely refuses expedited admission due to the patient

not being violent enough. This unlawful practice, which encourages workplace violence, should

not be permitted to continue. Acute care hospitals are not set up to handle that level of

aggression. Nor is it acceptable, safe, or sustainable to require other patients and care providers

to be exposed to a heightened risk of violence in community hospitals, which are supposed to be

therapeutic healing environments.

         OHA also points to the fact that a federal court order requires it to accommodate criminal

defendants at OSH who are found guilty except for insanity or unable to aid and assist in their

own defense. Yet OHA has been under these orders for years, and has done little to build

capacity in the community to ensure an adequate supply of secure beds are available for

individuals who are civilly committed. To be clear, Plaintiffs strongly support the rights of

4868-8709-5093.1
  COMPLAINT FOR DECLARATORY      LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 4      888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                 Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                 Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
         Case 6:22-cv-01460-AN           Document 1           Filed 09/28/22            Page 5 of 39




criminal defendants with severe mental illness to be moved out of jails and provided treatment.

But OHA is supposed to serve all three populations of patients. It is past time for change.

         Acute care community hospitals now bring this lawsuit to remedy OHA’s unlawful

practice of abandoning civilly committed individuals in acute care facilities and failing to even

attempt to provide them with appropriate treatment during their involuntary detention. This

practice violates OHA’s statutory duties and ignores the fundamental rights of civilly committed

Oregonians: access to mental health treatment that gives them “a realistic opportunity to be cured

or to improve [the] mental condition” for which they were confined. Ohlinger v. Watson, 652
F.2d 775, 779 (9th Cir. 1980).

         Plaintiffs do not seek compensatory damages—instead, Plaintiffs seek only declaratory

and injunctive relief, nominal damages, and recovery of their attorneys’ fees for having to pursue

litigation to force OHA to accept its responsibility to provide mental health services to civilly

committed individuals. Plaintiffs seek a declaration that OHA’s practices of forcing acute care

hospitals to fulfill OHA’s statutory obligations violate the constitutional rights of both civilly

committed individuals and the community hospitals where they are unnecessarily confined.

Plaintiffs further seek an injunction abolishing these practices and requiring OHA to fulfill its

statutory obligations to ensure civilly committed individuals finally receive the care and

treatment they are entitled to by law.

                                 JURISDICTION AND VENUE

         1.     This action is brought pursuant to 42 U.S.C. § 1983, 42 U.S.C. § 12132, and 28

U.S.C. § 2201.

         2.     This Court has subject matter jurisdiction pursuant to 28 USC § 1331 (federal

question jurisdiction) and 28 USC §1343 (civil rights jurisdiction), and supplemental jurisdiction

over claims based on state law pursuant to 28 USC § 1367.

         3.     Declaratory and additional relief are authorized by 28 U.S.C. §§ 2201 and 2202.

         4.     Venue is proper pursuant to 28 U.S.C. § 1391(b).

4868-8709-5093.1
  COMPLAINT FOR DECLARATORY      LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 5      888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                 Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                 Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
         Case 6:22-cv-01460-AN           Document 1            Filed 09/28/22            Page 6 of 39




                                                PARTIES

         5.     Plaintiffs are not-for-profit corporations licensed to provide hospital and

healthcare services. The community hospitals operated by Plaintiffs all receive patients who are

detained or civilly committed pursuant to Oregon law, as alleged below.

         6.     The community hospitals operated by Plaintiffs are not designed, equipped,

staffed, or intended to provide long-term mental health treatment for civilly committed

individuals. The behavioral health units operated by Plaintiffs are intended to serve the

community as acute care facilities at which patients experiencing acute mental health crises are

evaluated, stabilized, and discharged to the next appropriate level of care. By design, the average

length of stay for most patients in those units is 14 days or less. However, due to the practices

and conduct of OHA, civilly committed individuals commonly remain in the behavioral health

units of community hospitals for much longer periods of time. These units are highly restrictive,

locked environments. Patients are able to leave the units only for short periods of time, if at all,

because of environmental and staffing limitations. This type of confined setting is not designed

to provide the appropriate therapeutic setting for long-term treatment. As a result, patients left

languishing in these environments by OHA do not receive needed care and, in some cases,

decompensate back to unstable conditions. OHA’s failure to provide appropriate treatment

settings for civilly committed patients, despite its legal responsibility to do so, directly results in

unnecessarily long lengths of stay in community hospitals.

         7.     Plaintiffs also operate emergency departments and medical-surgical units within

their community hospitals. As alleged below, patients experiencing mental health crises often are

detained in those units pursuant to Oregon civil commitment laws because of the shortage of

acute psychiatric beds due to practices and conduct of OHA. These patients cannot access

behavioral health units or other treatment settings that they desperately need because there are no

beds available for care.



4868-8709-5093.1
  COMPLAINT FOR DECLARATORY       LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 6       888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                  Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                  Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
         Case 6:22-cv-01460-AN          Document 1            Filed 09/28/22            Page 7 of 39




         8.    Plaintiff Legacy Emanuel Hospital & Health Center, doing business as Unity

Center for Behavioral Health (Unity), operates an acute care behavioral health hospital in

Portland, Oregon. It has 85 adult beds and 22 adolescent beds. Unity provides both emergency

and inpatient services to individuals experiencing mental health crises. Unity is an acute care

hospital, meaning it provides assessment and short-term stabilizing treatment for patients

experiencing an acute behavioral health crisis. Unity is not a long-term treatment facility, nor is

it designed, equipped, staffed, or intended to provide long-term care for individuals who are

civilly committed.

         9.    Plaintiff Legacy Health operates six hospitals in Oregon. These hospitals have

emergency departments and medical-surgical units, but do not have behavioral health units.

They are not designed, equipped, staffed, or intended to provide care for individuals who are

detained or civilly committed.

         10.   Plaintiff PeaceHealth operates four hospitals in Oregon. One of those hospitals

has a 35-bed acute care behavioral health unit. It has an average length of stay of ten days. It is

not designed, equipped, staffed, or intended to provide long-term care for individuals who are

civilly committed. The other PeaceHealth hospitals have emergency departments and medical-

surgical units, but do not have behavioral health units. They are not designed, equipped, staffed,

or intended to provide care for individuals who are detained or civilly committed.

         11.   Plaintiff Providence Health & Services – Oregon operates eight hospitals in

Oregon. Four of these hospitals have acute care behavioral health units, which combined include

66 adult beds, 19 senior beds, and 22 adolescent beds. None of those acute care behavioral health

units are designed, equipped, staffed, or intended to provide long-term care for individuals who

are civilly committed. The other hospitals have emergency departments and medical-surgical

units, but do not have behavioral health units. They are not designed, equipped, staffed, or

intended to provide care for individuals who are detained or civilly committed.



4868-8709-5093.1
  COMPLAINT FOR DECLARATORY      LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 7      888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                 Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                 Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
         Case 6:22-cv-01460-AN          Document 1            Filed 09/28/22            Page 8 of 39




         12.   Defendant Patrick Allen is director of OHA, an agency of the State of Oregon.

He is sued in his official capacity.

                                                FACTS

A.       Civilly committed patients are entitled to meaningful long-term treatment during
         their involuntary detention.
         13.   More than 500 individuals with severe mental illnesses are civilly committed to

OHA for treatment every year. These individuals exhibit acute symptoms such as psychosis

(dissociation with reality), paranoia, hallucinations, suicidal or homicidal ideation, and

sometimes violent behaviors toward themselves and others. In short, these individuals are very ill

and require significant care and treatment.

         14.   Civil commitment is a drastic measure that the state takes only if no other option

for care is available. A judge may commit a person only if a mental illness makes the person a

danger to themself or others or unable to provide for basic personal needs like health and safety.

The Supreme Court has held that involuntary detention due to mental illness is “a massive

curtailment of liberty.” Humphrey, 405 U.S. at 509. Accordingly, due process requires that

civilly committed persons receive treatment calculated to lead to the end of their involuntary

detention. Id. Failing to provide this type of care to persons who are involuntarily detained—and

instead using involuntary commitment to merely “warehouse” mentally ill persons away from

the community—violates due process, not to mention basic standards of human dignity and

decency.

         15.   To that end, when the state pursues civil commitment, the state must provide

mental health treatment that gives civilly committed patients “a realistic opportunity to be cured

or to improve [the] mental condition” for which they were confined. Ohlinger, 652 F.2d at 779.

“Adequate and effective treatment is constitutionally required because, absent treatment, [civilly

committed persons] could be held indefinitely as a result of their mental illness.” Id. at 778.
Thus, civil commitment requires individualized treatment in the least restrictive setting possible

with the goal of restoring the person’s liberty, and commitment can last only long enough for the
4868-8709-5093.1
  COMPLAINT FOR DECLARATORY      LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 8      888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                 Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                 Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
         Case 6:22-cv-01460-AN          Document 1            Filed 09/28/22            Page 9 of 39




purpose of giving patients treatment that gives them a “realistic opportunity to be cured or to

improve” so that they can return to the community and not be recommitted.

         16.   To get a “realistic opportunity to be cured or to improve,” a patient typically

requires two phases of treatment. First, the patient must be stabilized. The goal of stabilization is

to manage and alleviate patients’ most acute symptoms so that those symptoms do not inhibit

long-term recovery. Stabilizing treatment typically involves medication to manage acute

symptoms like psychosis, hallucinations, delusions, and/or aggressive or violent physical

behavior. The patient must be monitored so medications can be managed and staff can promptly

intervene if patients try to hurt themselves or others. Due to these limitations, the patient must be

in a highly restrictive setting, and patients often cannot be allowed to move about as they please.

Because stabilization is intended to last for only 1-10 days, this highly restrictive environment is

meant to be only temporary and is the role acute care hospitals are intended to play in the

process.

         17.   After being stabilized, a civil commitment patient typically requires long-term

treatment. Long-term treatment aims to do more than simply manage the patient’s symptoms—it

aims to address the patient’s mental illness itself with the goal of enabling the patient to recover

from their illness and return to the community. Each patient in long-term treatment typically has

an individualized treatment plan, which helps them recover from their acute mental illness.

Long-term treatment involves fewer restrictions and offers more independence so that patients

can practice and develop life and health skills for being successful in the community, including

the ability to take day passes and overnight visits to facilitate transition back to the community. It

involves a more stable peer environment with less patient turnover, more socialization, more

group counseling, and more peer support. It involves training and education programs for

patients to learn how to care for their basic needs, maintain employment, and maintain healthy

relationships. It requires a calmer, less stressful environment than an acute-care hospital, that

reduces the risk of the individual decompensating back into an acute mental health crisis.

4868-8709-5093.1
  COMPLAINT FOR DECLARATORY      LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 9      888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                 Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                 Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN             Document 1           Filed 09/28/22            Page 10 of 39




         18.    An acute care environment, where patients are stabilized, is not appropriate for

patients who need long-term recovery. Acute care environments are, by necessity, far more

restrictive than long-term treatment environments. Acute care environments typically house peer

patients in crisis and require more monitoring and staffing than do long-term treatment

environments. These features can be counterproductive to patients who have already been

stabilized and who are working to recover from their mental illness so that they can regain their

freedom and return to their community. A patient in long-term recovery cannot receive the

socialization and skill-development opportunities in an acute care environment, and the increased

level of restriction is unnecessary for such patients and often can cause decompensation.

         19.    For these reasons, it is difficult to overstate how crucial it is that a civilly

committed patient, once stabilized, be transitioned into an environment conducive to long-term

treatment. If a civilly committed patient is not transferred, the patient’s liberty is unnecessarily

curtailed, the patient does not meaningfully recover, the patient may decompensate, and the very

purpose of civil commitment is undermined.
B.       Oregon law requires OHA to ensure that civilly committed individuals receive
         appropriate long-term treatment.
         20.    The state is responsible for the civil commitment process. The state initiates civil

commitment proceedings; the state pursues civil commitment from the court; and, if commitment

is ordered, patients are committed “to the Oregon Health Authority for treatment.”
ORS 426.130(1)(a)(C) (emphasis added). As such, it is the responsibility of the state to provide

civilly committed individuals with necessary treatment in the most appropriate and least

restrictive setting possible to fulfill patients’ constitutional rights.

         21.    Where a person has been civilly committed, Oregon law charges OHA with the

responsibility for finding an appropriate placement for long-term treatment. Oregon law requires

that, “[u]pon receipt of the order of commitment, OHA or its designee shall take the person with

mental illness into its custody, and ensure the safekeeping and proper care of the person until the

person is delivered to an assigned treatment facility or to a representative of the assigned
4868-8709-5093.1
  COMPLAINT FOR DECLARATORY        LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 10       888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                   Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                   Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN           Document 1           Filed 09/28/22            Page 11 of 39




treatment facility.” ORS 426.150(1). By statute, OHA must direct civilly committed persons “to

the facility best able to treat” them, or delegate to a community mental health program director

the responsibility for assignment of civilly committed persons to a “suitable” facility. ORS

426.060(2)(a), (d) (emphasis added).

         22.   The director of OHA may assign or transfer the civilly committed person to any

facility “which, in the opinion of the director, will appropriately meet the mental health needs of

the committed person.” OAR 309-033-0290(1)(a). The director of OHA may place the person in

a community hospital—however, in doing so, the director of OHA must “consult” with the

community hospital’s admitting physician, and both must, together, “determine whether the best

interests of a committed person are served by an admission to a community hospital.”

OAR 309-033-0270(3)(a).
C.       OHA has shut the doors of the Oregon State Hospital to civilly committed patients
         and failed to create appropriate long-term placement options in the community.
         23.   Oregon’s civil commitment system has broken down as OHA has, for years,

ignored its statutory obligations to this most vulnerable population. Rather than increasing

capacity and addressing the problems, OHA has completely abdicated its lawful duty to transfer

civilly committed patients out of highly-restrictive acute care hospitals and into appropriate long-

term treatment settings. For most of these individuals, a hospital is the doorway to the civil

commitment system. However, many patients experiencing a mental health crisis do not get past
that doorway. By law, every patient coming to a hospital emergency department must be given a

medical screening examination and provided stabilizing treatment for an emergency medical

condition, including a psychiatric crisis. Some are admitted to the hospital for acute stabilization

of their symptoms. Once a patient is committed, however, OHA is leaving them stuck in acute

care hospitals indefinitely, instead of transferring them to appropriate long-term placements.

Some civil commitment patients even remain in overly restrictive hospital settings for the entire

length of their commitment, which can be 180 days or longer if renewed by the court. Despite

the hospitals’ best efforts, they cannot provide the long-term treatment civilly committed
4868-8709-5093.1
  COMPLAINT FOR DECLARATORY      LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 11     888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                 Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                 Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN            Document 1           Filed 09/28/22            Page 12 of 39




individuals need and are entitled to by law. The acute care community hospitals are not

equipped, staffed, or designed to house civilly committed individuals for months at a time, let

alone six months or more, when there is an urgent need for those beds by other acute psychiatric

patients in the community. 1

           24.   OHA has neglected its responsibilities to civilly committed patients because it has

failed to provide and build out adequate treatment capacity for civilly committed individuals, and

because OHA is unlawfully prioritizing care for other populations of mentally ill individuals.

Historically, civilly committed individuals went to OSH, the mental health hospital operated and

managed by OHA. ORS 179.321(1). OSH is intended to be used by the state “for the care and

treatment of persons with mental illness.” ORS 426.010. It is the only state hospital in Oregon

and is supposed to serve three populations of mentally ill persons: (1) civilly committed

individuals, (2) those found guilty except for insanity (GEI) in a criminal case, and (3) aid-and-

assist patients who are arrested but not able to participate in their defense because of a mental

illness.

           25.   However, over the years and as a result of other federal court litigation, OHA has

increasingly prioritized the admission of aid-and-assist and GEI patients at OSH over civil

commitment patients. For example, in November of 2018, a 26-bed unit for civil commitment

patients at OSH was turned into a unit for aid-and-assist patients. In July of 2019, another 26-bed

unit for civil commitment patients was converted to use for aid-and-assist patients. In December

of 2019, OSH stopped taking civilly committed patients, with very few exceptions, and shifted

admission priorities to focus almost entirely on the aid-and-assist and GEI populations. Over this


1 Meanwhile, civilly committed patients have no one to advocate on their behalf because

Oregon’s civil commitment scheme does not provide them with counsel after the point of
commitment. While individuals who are detained have a right to counsel during the court process
leading up to an order of commitment, that representation ends at the time the order is entered.
Having been civilly committed, individuals are no longer represented by counsel to protect their
rights. They are lost to the oversight of the courts that have committed them, as is OHA, which
disclaims responsibility for their care.
4868-8709-5093.1
  COMPLAINT FOR DECLARATORY       LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 12      888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                  Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                  Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN            Document 1           Filed 09/28/22            Page 13 of 39




period, OHA has done virtually nothing to create additional capacity for civilly committed

patients to receive needed treatment in appropriate settings.

         26.    As a result, and as shown below, the admittance rate of civilly committed patients

to OSH has plummeted (and the number of civilly committed individuals stuck in acute care

hospitals has skyrocketed). Five years ago, about one-third of OSH patients, or more than 200,

were civilly committed. Between January and March of 2021, 94% of new patients at OSH were

aid-and-assist patients, and in June of 2021, the civil commitment population made up less than

5% of OSH patients. Yet, at the same time, OHA has failed to provide other options for

appropriate long-term placements and done nothing to build capacity in the community to ensure

an adequate supply of secure beds are available for individuals who are civilly committed.




         27.    Plaintiffs strongly support the rights of aid-and-assist and GEI patients to be

removed from jail and to receive meaningful treatment. But OHA must do this without

abandoning civilly committed patients. By law, OHA may not prioritize aid-and-assist patients

over civilly committed patients if it means giving civilly committed patients inadequate care. The

Ninth Circuit has held that, when it comes to providing constitutionally adequate treatment to

involuntarily detained patients, “[l]lack of funds, staff or facilities cannot justify the State’s

failure to provide [such persons] with [the] treatment necessary for rehabilitation.” Ohlinger, 652

4868-8709-5093.1
  COMPLAINT FOR DECLARATORY       LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 13      888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                  Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                  Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
         Case 6:22-cv-01460-AN           Document 1           Filed 09/28/22            Page 14 of 39




F.2d at 779. Indeed, OHA’s recent practices have already been adjudged unlawful by this Court.

On November 15, 2021, in Bowman v. Matteucci, 3:21-cv-01637, Judge Marco A. Hernández

granted injunctive relief to GEI patients who claimed that they were unconstitutionally being

denied admission to OSH because OHA was prioritizing the admission of aid-and-assist patients.

OHA argued that, due to an injunction regarding admission requirements for aid-and-assist

patients in Or. Advoc. Ctr. v. Mink, 322 F.3d 1101, 1121–22 (9th Cir. 2003), OHA had to

prioritize aid-and-assist patients over other populations of patients. Judge Hernández expressly

rejected the notion that OHA may prioritize the constitutional rights of some patients over others:

         If OSH cannot admit GEI patients while admitting aid-and-assist patients within
         the court-ordered timeframe, it’s because OSH lacks the space and the funding to
         do so—not because the Mink order compels it to prioritize one group over
         another. In other words, any prioritization stems from Defendant’s failure to
         provide the funds, staff, and facilities necessary to satisfy the constitutional rights
         of both groups. When satisfying constitutional guarantees, Defendants cannot
         rob Peter to pay Paul.
Bowman v. Matteucci, 3:21-cv-01637, 2021 WL 5316440, at *2 (D. Or. Nov. 15, 2021)

(emphasis added). Despite this unambiguous ruling, OHA continues to systematically prioritize

care for other patients over care for civilly committed patients, once again “robbing Peter to pay

Paul.”

         28.    OHA’s failure to provide appropriate and legally required treatment to civilly

committed individuals—and the negative impact on Oregon’s community hospitals—is well

known to OHA. A 2017 study for OHA concluded: “Patients at the state hospital for aid and

assist take up beds that could be used for civil commitment patients. This results in more civilly

committed individuals waiting in acute care for a state hospital bed to open up. This decreases

the access to acute care beds, which causes a backup in the ED. Multiple strategies have tried to

reverse this trend with only minimal success. OHA is revitalizing planning and actions and will

have a strategic action plan in place by February 2017.” 2 But, despite having known of its



2 Oregon Health Authority, Emergency Department Boarding of Psychiatric Patients in Oregon,

Report Briefing, Feb. 1, 2017, available at
4868-8709-5093.1
  COMPLAINT FOR DECLARATORY       LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 14      888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                  Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                  Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN          Document 1           Filed 09/28/22            Page 15 of 39




practices since 2017, OHA has continued to ignore its statutory obligations and has continued to

knowingly reduce long-term placement options for civilly committed patients over that time.

         29.   Today, OSH rarely admits civilly committed patients—despite the fact that OSH

is not at 100% capacity and has empty beds.3 This last year, OSH averaged less than 20 civil

commitment patients per month, including a grand total of 16 in June of 2022. In the last few

years, the only way a handful of civilly committed individuals have gotten into OSH is by

qualifying for expedited admission due to being severely violent. To qualify for expedited

admission, OHA requires that the person exhibit severe aggression directed towards other

persons and/or property in the previous two weeks, and which has (1) resulted in injury to others

or property destruction, (2) required frequent or prolonged restraint and/or seclusion, (3) has

persisted and remains at ongoing high risk of recurrence despite adequate treatment, and (4)

cannot be safely treated on an acute psychiatric unit. 4 In other words, OHA requires the person to
be severely violent towards others and/or property and have already injured someone or

destroyed property while in the acute care hospital to even be considered for admission to OSH.

Even then, individuals who should qualify for expedited admission are routinely denied, and left

in acute care hospitals. In effect, OHA has made admission to OSH next to impossible for most

civilly committed individuals who are not violent at all, and have done nothing wrong other than

to suffer from a mental illness. And OHA has provided essentially no other options where these

individuals can receive appropriate long-term treatment they are entitled to by law.

         30.   Meanwhile, not one civilly committed person has been admitted to OSH in the

last several years based on the regular admission criteria. While individuals who meet regular


https://www.oahhs.org/assets/documents/files/publications/0%20OHA%20Psychiatric%20ED%
20Boarding%20Report%20Brief%20Final.pdf.
3 This is according to sworn testimony from behavioral health director Steve Allen on July 20,

2022.
4 Request for Oregon State Hospital Expedited Admission,

https://www.oregon.gov/oha/OSH/LEGAL/Documents/Expedited_Admission_for_Patients_Und
er_CIVIL_Commitments.pdf.
4868-8709-5093.1
  COMPLAINT FOR DECLARATORY     LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 15    888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN           Document 1           Filed 09/28/22            Page 16 of 39




admission criteria are routinely placed on the wait list for OSH, they are never admitted.

Essentially, it has become a wait list to nowhere.

         31.   The closure of OSH’s doors to the civilly committed population, without other

capacity having been built, means that these individuals are denied access to appropriate long-

term treatment in a far less restrictive setting. In comparison to a restrictive acute care unit, OSH

and secure residential treatment facilities are a much more humane place for an individual to be

not only because they offer long-term treatment (which acute care hospitals do not), but also

because individuals have much more freedom and a better quality of life. For example, a patient

at an acute care unit necessarily must live in confined, closed-off, heavily monitored physical

spaces:




4868-8709-5093.1
  COMPLAINT FOR DECLARATORY      LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 16     888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                 Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                 Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN           Document 1           Filed 09/28/22            Page 17 of 39




         A patient at OSH or a secure residential facility, meanwhile, may recover in a living

space far more conducive to meaningful long-term recovery:




         OSH also has gym facilities, education and vocational opportunities, extensive outdoor

facilities, and even a café, market, and coffee shop. Individuals at OSH can go places on day

passes, wear their own clothes, and go outside daily for fresh air. There are also family and

friend events and peer support specialists on staff at OSH. None of those amenities and
4868-8709-5093.1
  COMPLAINT FOR DECLARATORY      LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 17     888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                 Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                 Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN           Document 1           Filed 09/28/22            Page 18 of 39




opportunities are available in acute care hospitals. And OHA has done nothing to build capacity

to create appropriate long-term placements in the community that offer such essential amenities

and opportunities so that civilly committed individuals can practice and develop life and health

skills for being successful in the community.

D.       OHA has systematically failed the civilly committed population and left them to
         languish indefinitely in acute care community hospitals.
         32.   OHA has systematically failed in its responsibility to ensure that civilly

committed individuals receive the care and treatment they need and are legally entitled to receive

as a condition of taking away their liberty. This failure has been the subject of rulings by Oregon

courts and repeated pleas to OHA for help.

         33.   Due to OHA’s inaction, there is a severe shortage of appropriate placements that

are able to provide higher levels of care and long-term treatment needed to care for this

vulnerable population. 5 Most secure residential treatment facilities are often full and have closed
waitlists. Even when facilities are not full, they generally prioritize referrals from OSH, while

referrals from acute care hospitals are given less priority. With no options for long-term

placement, civilly committed individuals remain stuck in acute care hospitals without access to

meaningful treatment. It leads to an unconscionable, but all too common situation, where

individuals are denied the care that justifies their commitment in the first place and that they are

constitutionally entitled to receive.

         34.   The following stories represent just some of the harrowing experiences civilly

committed patients have endured after being committed to OHA and then left to languish in

community hospitals indefinitely, without access to appropriate long-term treatment.




5 For example, in the entire State of Oregon, there are currently only two Class One secure

residential treatment facilities. A Class One facility is approved “to be locked to prevent a person
from leaving the facility, to use seclusion and restraint, and to involuntarily administer
psychiatric medication.” OAR 309-033-0520(3). These are critical resources that some civilly
committed individuals may require before they are ready to step down to a lower level of care.
4868-8709-5093.1
  COMPLAINT FOR DECLARATORY      LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 18     888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                 Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                 Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN           Document 1           Filed 09/28/22            Page 19 of 39




         35.   In late 2021, an individual was brought by ambulance to the emergency

department of a community hospital after assaulting another resident at his group home. He was

on a trial visit after having been initially committed for 180 days in late 2020, and then

recommitted for another 180 days. Once evaluated in the emergency department, he revealed that

he was acting on command auditory hallucinations. Given his risk of assaultive behavior, he was

admitted to the acute behavioral health unit. The court then revoked his trial visit and remanded

him to the custody of OHA. The order should have resulted in him being transferred to an

appropriate long-term placement. But that did not happen, and he remained in the community

hospital. The court subsequently renewed his commitment for an additional 180 days. This order,

too, should have resulted in him being transferred to an appropriate long-term placement. But

again, that did not happen and he remained indefinitely in a restrictive acute care setting. During

his admission, the patient exhibited exceptionally aggressive behavior that was instantaneous and

unpredictable. He assaulted a nurse which resulted in a concussion, verbally threatened to kill

staff, threw objects at his care team, and cornered a nurse in the hallway. As a result of his

threatening and disruptive behavior, staff called out for their own mental health, voluntary

patients left, and one staff member resigned. The attending physician described the patient as

“ONE OF THE MOST DANGEROUS patients [he had] treated on an acute unit in [his] 30 plus

years as a psychiatrist.” The community hospital tried to get the patient admitted to OSH, but he

was denied expedited admission three times. On one of the denials, a physician from OSH said

“off the record” that the patient would almost have to kill someone to get in that way. Ultimately,

it took intervention 6 in the civil commitment case by the hospital, until two days before a

hearing, OSH finally offered expedited admission. Had there been a hearing, the court would

have heard that this civilly committed individual spent over five months confined in a restrictive


6 Plaintiffs have intervened in civil commitment cases on several occasions to advocate for their

patients to receive appropriate long-term placements. Nevertheless, it is clear that intervention
will not be enough to create meaningful change because OHA has continued to use community
hospitals to house civilly committed individuals indefinitely, if not permanently.
4868-8709-5093.1
  COMPLAINT FOR DECLARATORY      LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 19     888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                 Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                 Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN           Document 1           Filed 09/28/22            Page 20 of 39




setting, where he was only allowed to walk outside his room for 10-15 minutes per shift, could

not safely go outside for fresh air, and wore scrubs every day. The court would have heard that

this civilly committed individual spent 165 days in a community hospital, with no placement

decision ever being made by OHA to whom he was committed for treatment.

         36.   In another instance in late 2021, an individual with chronic schizophrenia was

arrested for threatening pedestrians with a knife. Officers intervened in time, but had to use

tasers, less than lethal ammunition, and pepper spray to subdue him. He was arrested and taken

to jail. Officials asked to transfer him to OSH, but OSH denied the request. He was then placed

on a magistrate’s hold, which required him to be transported to a community hospital due to the

court’s belief that he was an imminent danger to self or others. Once in the emergency

department, he was placed on a notice of mental illness where he was held until being transferred

to the behavioral health unit and subsequently involuntarily committed to the custody of OHA

for 180 days of treatment. Again, after the commitment order was entered, OHA deliberately

failed to make any placement decision for him, and instead left him to languish in the community

hospital for almost his entire commitment. The patient spent more than four months (a total of

137 days) confined in a restrictive setting, where he spent his days in a small room, and crying

because he wanted to get out of the hospital. Ultimately, it took intervention in the civil

commitment case by the community hospital, a full day hearing, and several rounds of briefing

and orders from the trial and appellate courts until OHA complied and he was discharged to a

secure residential treatment facility in the spring of 2022.

         37.   In early 2022, an individual with impulsive and unpredictable behavior motivated

by psychosis was admitted to an acute care hospital. This patient had a lengthy history of

psychiatric hospitalizations and interactions with the criminal justice system, including

convictions for attempted kidnapping, assault in the fourth degree, and strangulation. She was

involuntarily committed to OHA for 180 days of treatment on February 11. However, she

remained in the acute care hospital for the next 49 days. During that time, she required a one-on-

4868-8709-5093.1
  COMPLAINT FOR DECLARATORY      LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 20     888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                 Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                 Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN           Document 1           Filed 09/28/22            Page 21 of 39




one sitter 24 hours a day, and frequently endorsed suicidal ideation with a plan to overdose and

homicidal ideation towards her family. She was hypersexual towards male patients and assaulted

several staff members. After 90 days, she was discharged on a trial visit, but she rapidly

decompensated in the community and was sent to jail. After her trial visit failed, OHA should

have taken custody of her. But that did not happen. Instead, she was sent back to the acute care

hospital. Due to her psychotic symptoms, the hospital was unable to keep other patients and staff

safe from her explosive and violent outbursts. She spent approximately 96 hours in seclusion.

She was placed on the wait list for OSH on May 3, but denied expedited admission. On July 15,

she was transferred to a Class Two secure residential treatment facility, only to return the next

day around midnight. According to reports from the facility, she engaged in highly aggressive

sexual behavior towards others, refused medication, and eloped. Staff were able to bring her

back, but she continued to refuse medication and engaged in inappropriate behavior. The facility

called 911, and she was taken back to the acute care hospital. To this day, she remains in the

acute care hospital where she has been for most of this year. She has been taken on and off

OSH’s regular admission wait list on multiple occasions, and now spent more than seven

months confined in a restrictive setting without access to appropriate long-term treatment. OHA

has no plan for placement, and cannot provide a date when placement will occur. At this point, it

is conceivable that she could spend her entire recommitment period through early 2023—

including any additional recommitment periods—stuck in the acute care hospital.

         38.   In spring 2022, an individual presented to the emergency department of a

community hospital after she was found wandering the streets. She presented with symptoms of

schizoaffective disorder and psychosis. She was six weeks pregnant. She was detained and

subsequently involuntarily committed to the custody of OHA for 180 days of treatment. Despite

the court’s order committing her to OHA for treatment, OHA never made a placement decision,

and instead left her in the acute care hospital. She remained there into the third trimester of her

pregnancy, depressed, and sad that all of the other patients were being discharged except for her.

4868-8709-5093.1
  COMPLAINT FOR DECLARATORY      LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 21     888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                 Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                 Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN             Document 1         Filed 09/28/22            Page 22 of 39




She spent her birthday in the hospital and was isolated even more afterward. Due to OHA’s

failure to find an appropriate long-term placement for her, she remained stuck in the acute care

hospital, in the most restrictive setting possible, that was not best able to treat her—for more

than four months, while pregnant, and for most of her entire 180-day commitment.

E.       OHA’s practices negatively impact community hospitals and the community.

         39.   OHA’s practices also negatively impact community hospitals. When civilly

committed patients are left in community hospitals, they require Plaintiffs to divert significant

resources to care for civilly committed patients and not Plaintiffs’ other patients. Civilly

committed patients require significant care by physicians, nurses, and other healthcare

professionals—care that Plaintiffs cannot simultaneously direct toward other patients. Civilly

committed individuals receive a hospital bed, medication, food, housekeeping services, and other

hospital resources, which Plaintiffs accordingly cannot allocate to other patients. Oftentimes,

civilly committed patients require a one-on-one sitter 24 hours a day to ensure their safety and

the safety of other patients and staff.

         40.   Due to acuity of illness, security personnel frequently are involved, and staff and

other patients are often threatened and sometimes injured, and sometimes hospital property is

destroyed. As a result of their illness and symptoms, civilly committed patients are often

disruptive to the care environment, affecting other patients, visitors, and staff and affecting the

care that can be provided to other patients.

         41.   The beds unnecessarily occupied by civilly committed patients are not available

for other patients who need them, as patients back up in emergency departments, resulting in

hardship for others who need to access acutely needed medical and mental health treatment.

Some individuals are so acute that adjacent rooms must be closed for safety. In many cases, these

individuals cannot safely be in shared rooms, further reducing capacity.

         42.   OHA’s practices deprive Plaintiffs of their property without due process of law

and effectuate a taking of Plaintiffs’ property as OHA forces community hospitals to hold and

4868-8709-5093.1
  COMPLAINT FOR DECLARATORY      LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 22     888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                 Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                 Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN           Document 1           Filed 09/28/22            Page 23 of 39




care for civilly committed individuals who, by law, have been committed to the custody of OHA

for treatment. Although OHA provides Plaintiffs with a small amount of reimbursement for

holding civilly committed patients, the reimbursement received is inadequate, causing financial

harm. In addition, Plaintiffs incur additional expenses for additional staff and workers’

compensation costs, property damage, and room closures, for which they are not reimbursed.

Plaintiffs are all non-profits, but their behavioral health units are suffering unsustainable losses

that amount to tens of millions of dollars a year. If this continues, some of these important

behavioral health resources may be forced to close.

         43.    Despite knowing of its unlawful practices for years, OHA continues to allow

them. OHA benefits by passing the costs of treating severely mentally ill patients to private

entities. In effect, OHA has silently outsourced the civil commitment system, including the role

of OSH, to Oregon health systems and acute care community hospitals.

         44.    The negative impact of OHA’s practices, conduct, failures, and inaction on

Plaintiffs and other Oregon community hospitals are severe and ongoing. Because the patients

are civilly committed, they can only be discharged to secure settings, or else must be kept in the

hospital until they no longer meet commitment criteria. This can mean hospital stays of several

weeks, to several months, up to the entire 180-day commitment, and, in some cases, through

recommitment periods as well. In turn, this prevents community hospitals from being able to

treat and stabilize other vulnerable patients experiencing mental health crises, many of whom are

also struggling with substance abuse disorder and houselessness in addition to mental illness.

F.       Rather than engage meaningfully with the problem, OHA has failed to find a
         solution for civilly committed individuals and blamed the counties and nonprofit
         care providers.
         45.    Over the past several years, Plaintiffs have pleaded with OHA for assistance and

support in finding appropriate placements for civilly committed individuals countless times.

Plaintiffs have asked OHA to seek more resources, expand services, and build capacity, rather

than detain civilly committed individuals indefinitely in restrictive acute care settings. Plaintiffs

4868-8709-5093.1
  COMPLAINT FOR DECLARATORY      LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 23     888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                 Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                 Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN          Document 1           Filed 09/28/22            Page 24 of 39




have offered to collaborate with OHA to find, or invent, a workable solution. Almost without

exception, OHA has been unresponsive and has failed to provide a solution for the patients for

whom it is responsible.

         46.   In fact, OHA has gone so far as to deny having any responsibility for civilly

committed patients and asserting that all its responsibility has been delegated to counties. In

sworn testimony to a trial court on February 11, 2022, OHA’s behavioral health director Steve

Allen testified as follows:




         47.   In testimony to the legislature on February 18, 2022, Mr. Allen testified as

follows with respect to OHA’s role in providing appropriate treatment for civilly committed

patients: “we don’t actually do the work.”7

         48.   And in sworn testimony to a trial court on August 24, 2022, Defendant Patrick

Allen, testifying for OHA, would not answer whether OHA had responsibility to an individual


7 Relevant portions of his testimony begin at about 1:41:00, and can be accessed at the

following link: https://olis.oregonlegislature.gov/liz/mediaplayer/?clientID=4879615486&eventI
D=2022021222.
4868-8709-5093.1
  COMPLAINT FOR DECLARATORY     LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 24    888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN          Document 1           Filed 09/28/22            Page 25 of 39




committed to OHA for 180 days of treatment as a civilly committed individual. Instead, Mr.

Allen testified that OHA had delegated responsibility for civilly committed patients to the county

and that “they would have the primary responsibility.”

         49.   OHA may not delegate its ultimate responsibility to provide constitutionally

adequate care to civilly committed patients. By law, OHA is responsible for ensuring that civilly

committed individuals receive appropriate long-term placements because civilly committed

individuals are committed to OHA, not the county or a community mental health program.

ORS 426.130(1)(a)(C) (the court may “order commitment of the person with mental illness to

the Oregon Health Authority for treatment”); ORS 426.060(1) (“[c]ommitments to the Oregon

Health Authority are only to be made by a judge of circuit court in a county of this state.”). As

such, Plaintiffs seek declaratory and injunctive relief against OHA’s unlawful practices.
                                     CAUSES OF ACTION

                                          FIRST CLAIM

      Violation of Civilly Committed Individuals’ Rights Under the Due Process Clause
               of the Fourteenth Amendment to the United States Constitution
         50.   Plaintiffs reallege and incorporate by reference paragraphs 1 through 49 above.

         51.   All individuals have the constitutional right not to be deprived of liberty without

due process of law. U.S. Const. amend. XIV, § 1. Involuntarily detaining a person due to mental

illness is “a massive curtailment of liberty.” Humphrey, 405 U.S. at 509.

         52.   The Due Process Clause of the Fourteenth Amendment protects two distinct but

related rights: procedural due process and substantive due process. Procedural due process

prohibits governmental deprivation of liberty without adequate procedure. Cleveland Bd. of

Educ. v. Loudermill, 470 U.S. 532, 541 (1985). Substantive due process forbids the government

from depriving a person of liberty in such a way that “shocks the conscience” or “interferes with

rights implicit in the concept of ordered liberty.” Emmert Indus. Corp. v. City of Milwaukie, 450

F. Supp. 2d 1164, 1175 (D. Or. 2006) (quoting Nunez v. City of Los Angeles, 147 F.3d 867, 871


4868-8709-5093.1
  COMPLAINT FOR DECLARATORY     LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 25    888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN           Document 1           Filed 09/28/22            Page 26 of 39




(9th Cir. 1998)). Liberty interests “may arise from either of two sources: the due process clause

itself or state law.” Carver v. Lehman, 558 F.3d 869, 872 (9th Cir. 2009).

         53.   Civilly committed individuals have a constitutional liberty interest in being free

from bodily restraint. The state may involuntarily detain individuals for purposes of providing

treatment; however, individuals who are involuntarily detained for this purpose “have a liberty

interest in receiving restorative treatment.” Mink, 322 F.3d at 1121. Due process requires that

mentally ill persons who are detained receive treatment calculated to lead to the end of their

involuntary detention. Id. To that end, states must provide all civilly committed persons with

access to mental health treatment that gives them “a realistic opportunity to be cured or to

improve [the] mental condition” for which they were confined. Ohlinger, 652 F.2d at 779.

“Adequate and effective treatment is constitutionally required because, absent treatment, [civilly

committed persons] could be held indefinitely as a result of their mental illness.” Id. at 778.

         54.   Pursuant to 42 U.S.C. § 1983, every person acting under color of law who

deprives another person of his or her constitutional rights is liable at law and in equity. At all

times relevant, Defendant Patrick Allen was a person acting under color of state law who is

liable for OHA’s unconstitutional conduct, policy, and practice.

         55.   For years, OHA has engaged in conduct and a policy and practice that violates

civilly committed individuals’ right to substantive and procedural due process. OHA’s conduct,

policy, and practice violates civilly committed individuals’ liberty interest in restorative

treatment and deprives them of a realistic opportunity to be cured or improve the mental

condition for which they were confined. When OHA leaves civilly committed individuals in

acute care community hospitals, they do not receive access to specialized treatment, care, and

training oriented to their long-term needs and focused on their reentry into the community.

Instead, they remain confined in unnecessary, overly-restrictive settings without access to long-

term treatment for weeks, months, and sometimes their entire 180-day commitment. As a result



4868-8709-5093.1
  COMPLAINT FOR DECLARATORY      LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 26     888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                 Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                 Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN           Document 1           Filed 09/28/22            Page 27 of 39




of OHA’s practices, they are more likely to be recommitted and cycle through the system over

and over again.

         56.   OHA lacks legitimate state interests in leaving civilly committed patients in

unnecessary, overly restrictive settings where patients do not receive access to minimally

adequate treatment and transition services. Despite knowing of its practices for years, OHA has

deliberately avoided addressing these problems, at least in part because OHA directly benefits

from its practices by effectively outsourcing the civil commitment process to community

hospitals and making community hospitals bear OHA’s would-be costs, responsibilities, and

liabilities.

         57.   There is no state law procedure for community hospitals to ensure civilly

committed individuals are placed by OHA in the facility best able to treat them or a suitable

facility during their 180-day commitment, so they can receive appropriate long-term treatment.

         58.   OHA will continue engaging in its conduct, policy, and practice in violation of the

Fourteenth Amendment unless the Court enjoins such conduct. As demonstrated by its inaction,

despite repeated pleas to OHA for help over the years, it is clear that OHA intends to continue

using community hospitals to house civilly committed individuals indefinitely, if not

permanently. Declaratory and injunctive relief are appropriate because community hospitals lack

an adequate remedy at law to protect their patients’ right to appropriate long-term treatment.

         59.   Plaintiffs seek a declaration that OHA’s conduct, policy, and practice violates

civilly committed individuals’ Fourteenth Amendment rights. Plaintiffs also seek a permanent

injunction enjoining OHA from continuing its conduct, policy, and practice.

         60.   Plaintiffs do not seek compensatory damages for OHA’s due process violations.

Plaintiffs seek only declaratory relief, injunctive relief, nominal damages, and recovery of their

attorneys’ fees and costs in bringing this action.

///

///

4868-8709-5093.1
  COMPLAINT FOR DECLARATORY      LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 27     888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                 Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                 Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN            Document 1           Filed 09/28/22            Page 28 of 39




                                          SECOND CLAIM

              Violation of Community Hospitals’ Rights Under the Due Process Clause
                   of the Fourteenth Amendment to the United States Constitution
         61.      Plaintiffs reallege and incorporate by reference paragraphs 1 through 49 above.

         62.      The Due Process Clause of the Fourteenth Amendment provides that states shall

not “deprive any person of life, liberty, or property without due process of law.” U.S. Const.

amend. XIV, § 1. The Due Process Clause “specially protects those fundamental rights and

liberties which are, objectively, deeply rooted in the Nation’s history and tradition, and implicit

in the concept of ordered liberty, such that neither liberty nor justice would exist if they were

sacrificed.” Washington v. Glucksberg, 521 U.S. 702, 720–21 (1997). The right to exclude others

from an owner’s property and to use the property as the owner sees fit is one such fundamental

right. Lingle v. Chevron U.S.A., Inc., 544 U.S. 528, 539 (2005).

         63.      The Due Process Clause of the Fourteenth Amendment protects two distinct but

related rights: procedural due process and substantive due process. Procedural due process

prohibits governmental deprivation of liberty and property rights without adequate procedure.

Cleveland Bd. of Educ., 470 U.S. at 541. Substantive due process forbids the government from

depriving a person of life, liberty, or property in such a way that “shocks the conscience” or
“interferes with rights implicit in the concept of ordered liberty.” Emmert Indus. Corp., 450 F.

Supp. 2d at 1175 (quoting Nunez, 147 F.3d at 871).

         64.      Pursuant to 42 U.S.C. § 1983, every person acting under color of law who

deprives another person of his or her constitutional rights is liable at law and in equity. At all

times relevant, Defendant Patrick Allen was a person acting under color of state law who is

liable for OHA’s unconstitutional conduct, policy, and practice.

         65.      For years, OHA has engaged in conduct and a policy and practice that violates

Plaintiffs’ and other community hospitals’ right to substantive and procedural due process.

OHA’s conduct, policy, and practice results in a taking of property belonging to Plaintiffs and

other community hospitals for public use and a denial of Plaintiffs’ fundamental right to use its
4868-8709-5093.1
  COMPLAINT FOR DECLARATORY       LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 28      888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                  Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                  Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN          Document 1           Filed 09/28/22            Page 29 of 39




hospital beds. When a civilly committed individual is committed to the custody of OHA and not

immediately transferred to an appropriate long-term placement, the relevant community hospital

is required to house the individual for weeks, months, and sometimes their entire 180-day

commitment and recommitment period. As a result, community hospitals are deprived of using

their hospital beds for other patients, which negatively impacts community hospitals’ ability to

serve the community and have throughput in their emergency departments, which are often full

of patients waiting to be admitted. Because of OHA’s failure to comply with its statutory

obligations, Plaintiffs and other community hospitals must dedicate significant resources to

civilly committed patients who have no medical reason to be in acute care settings. These

resources include not only the costs associated with medicating and housing these individuals for

extended periods of time, but also damage to hospital property as well as the services of its care

providers and other precautions needed, such as security and one-on-one sitters, to ensure the

safety of the individual and others.

         66.   OHA has known about its practices—and the resulting effects on community

hospitals—for years but has failed to meaningfully address these problems. OHA has

deliberately avoided addressing these problems at least in part because OHA directly benefits

from its practices, and the resulting harm to community hospitals and patients, by effectively

outsourcing the civil commitment process to community hospitals and making community

hospitals bear OHA’s would-be costs, responsibilities, and liabilities.

         67.   There is no state law procedure for community hospitals to contest being forced to

house civilly committed individuals indefinitely during their 180-day commitment. Although

Oregon civil commitment procedure involves a process by which OHA or its delegee consults

with the admitting physician of a hospital to “determine whether the best interests of a

committed person are served by an admission to [that] community hospital,”

OAR 309-033-0270(3)(a), that procedure is not being followed. Plaintiffs are not being afforded

a meaningful opportunity to be heard regarding whether a civilly committed patient should be

4868-8709-5093.1
  COMPLAINT FOR DECLARATORY     LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 29    888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN            Document 1           Filed 09/28/22            Page 30 of 39




committed to Plaintiffs’ community hospitals for long-term treatment lasting up to 180 days.

Rather, OHA is simply leaving patients at Plaintiffs’ hospitals without any meaningful process.

Nor is there a remedy available for community hospitals to seek compensation from OHA for

most of its costs associated with OHA forcing them to house civilly committed individuals in

lieu of OHA providing placements for them at OSH or another appropriate long-term treatment

facility. OHA’s policy and practice has resulted in working conditions for Plaintiffs’ care

providers that many find intolerable. As a result, an already difficult workforce shortage has

become a crisis. The strains on Plaintiffs’ care providers and resources are not sustainable,

presenting a risk of loss of critical mental health services to members of the community who are

in crisis.

         68.     OHA will continue engaging in its policy and practice in violation of the Due

Process Clause of the Fourteenth Amendment unless the Court enjoins such conduct. Declaratory

and injunctive relief are appropriate because Plaintiffs lack an adequate remedy at law.

         69.     Plaintiffs seek a declaration that OHA’s conduct, policy, and practice violates

community hospitals’ Fourteenth Amendment substantive and procedural due process rights.

Plaintiffs also seek a permanent injunction enjoining OHA from continuing its policy and

practice.

         70.     Plaintiffs do not seek compensatory damages for OHA’s due process violations.

Plaintiffs seek only declaratory relief, injunctive relief, nominal damages, and recovery of their

attorneys’ fees and costs in bringing this action.

                                           THIRD CLAIM

               Violation of Community Hospitals’ Rights Under the Takings Clause
                     of the Fifth Amendment to the United States Constitution
         71.     Plaintiffs reallege and incorporate by reference paragraphs 1 through 49 above.

         72.     The Takings Clause of the Fifth Amendment to the United States Constitution

prohibits the taking of private property for public use, without just compensation. U.S. Const.


4868-8709-5093.1
  COMPLAINT FOR DECLARATORY       LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 30      888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                  Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                  Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN           Document 1           Filed 09/28/22            Page 31 of 39




Amend. V. The Fifth Amendment is applicable to individual states pursuant to the Fourteenth

Amendment.

         73.   The Takings Clause “was designed to bar Government from forcing some people

alone to bear public burdens which, in all fairness and justice, should be borne by the public as a

whole.” Armstrong v. United States, 364 U.S. 40, 49 (1960). The prohibition extends not only to

a physical taking in which the government condemns or physically appropriates an owner’s

property, but also regulatory interferences which occur when a significant restriction is placed on

an owner’s ability to use its own property for which justice and fairness require that

compensation be given. Cedar Point Nursery v. Hassid, 141 S. Ct. 2063, 2071-72 (2021).

         74.   Pursuant to 42 U.S.C. § 1983, every person acting under color of law who

deprives another person of his or her constitutional rights is liable at law and in equity. At all

times relevant, Defendant Patrick Allen was a person acting under color of state law who is

liable for OHA’s unconstitutional conduct, policy, and practice.

         75.   For years, OHA has engaged in conduct and a policy and practice that results in a

taking of Plaintiffs’ and other community hospitals’ property for public use without just

compensation. Once a general judgment of commitment is entered and individuals are civilly

committed to the custody of OHA for up to 180 days of treatment, they are supposed to be

transferred to an appropriate long-term treatment facility. OHA is supposed to ensure they are

transferred to the facility best able to treat them or a suitable facility at the time of commitment.

Instead, however, after individuals are civilly committed—and as a result no longer represented

by counsel to protect their rights—these individuals are left indefinitely in restrictive and

confined settings in acute care hospitals, where they are forgotten by OHA.

         76.   Because civilly committed individuals who are committed to the custody of OHA

for treatment are occupying community hospital beds for weeks, months, and sometimes their

entire 180-day commitment and recommitment periods, OHA’s conduct deprives Plaintiffs and

other community hospitals of their hospital beds. It results in beds being unnecessarily occupied

4868-8709-5093.1
  COMPLAINT FOR DECLARATORY      LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 31     888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                 Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                 Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN           Document 1           Filed 09/28/22            Page 32 of 39




by civilly committed individuals who have no medical reason to be in an acute care setting, and

prevents other acute psychiatric patients in the community from accessing much needed care,

including patients who are backed up in emergency departments. Because of OHA’s actions,

community hospitals are deprived of the services of its care providers, forced to incur costs

associated with housing patients who should be elsewhere, and left with no choice but to devote

significant resources to patients who have no medical reason to be there, including medication,

food, housekeeping services, security, and one-to-one sitters 24 hours a day.

         77.    OHA does not provide sufficient compensation to cover the costs and fair value of

Plaintiffs’ property used to care for civilly committed patients left at Plaintiffs’ hospitals.

         78.    OHA will continue engaging in its conduct, policy, and practice in violation of the

Fifth and Fourteenth Amendments unless the Court enjoins such conduct. As demonstrated by its

inaction, despite repeated pleas to OHA for help over the years, it is clear that OHA intends to

continue using Plaintiffs’ hospitals and other community hospitals to house civilly committed

individuals indefinitely, if not permanently. Declaratory and injunctive relief are appropriate

because community hospitals lack an adequate remedy at law. Plaintiffs cannot feasibly seek

adequate and just compensation through individual legal actions for each civilly committed

patient left in Plaintiffs’ care because the expenses of pursuing so many individual legal actions

would exceed the compensation Plaintiffs seek to recover.

         79.    Plaintiffs seek a declaration that OHA’s conduct, policy, and practice violates

Plaintiffs’ and other community hospitals’ Fifth and Fourteenth Amendment rights. Plaintiffs

also seek a permanent injunction enjoining OHA from continuing its conduct, policy, and

practice.

          80.   Plaintiffs do not seek compensatory damages for OHA’s unlawful takings.

Plaintiffs seek only declaratory relief, injunctive relief, nominal damages, and recovery of their

attorneys fees’ and costs in bringing this action.

///

4868-8709-5093.1
  COMPLAINT FOR DECLARATORY      LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 32     888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                 Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                 Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN             Document 1           Filed 09/28/22            Page 33 of 39




                                           FOURTH CLAIM

               Violation of Community Hospitals’ Rights under Article I, Section 18
                           of the Oregon Constitution – Unlawful Taking
         81.      Plaintiffs reallege and incorporate by reference paragraphs 1 through 49 above.

         82.      Article I, Section 18, of the Oregon Constitution provides in part that “[p]rivate

property shall not be taken for public use . . . without just compensation; nor except in the case of

the state, without such compensation first assessed and tendered.”

         83.      For years, OHA has engaged in conduct and a policy and practice that results in a

taking of Plaintiffs’ and other community hospitals’ property for public use without just

compensation. Once a general judgment of commitment is entered and individuals are civilly

committed to the custody of OHA for up to 180 days of treatment, they are supposed to be

transferred to an appropriate long-term treatment facility. OHA is supposed to ensure they are

transferred to the facility best able to treat them or a suitable facility at the time of commitment.

Instead, however, after individuals are civilly committed—and they are no longer represented by

counsel to protect their rights—these individuals are left indefinitely in restrictive and confined

settings in acute care hospitals, where they are forgotten by OHA.

         84.      Because civilly committed individuals who are committed to the custody of OHA
for treatment are occupying community hospitals’ beds for weeks, months, and sometimes their

entire 180-day commitment and recommitment period, OHA’s conduct deprives Plaintiffs and

other community hospitals of their hospital beds. It results in beds being unnecessarily occupied

by civilly committed individuals who have no medical reason to be in acute care settings, and

prevents other acute psychiatric patients in the community from accessing much needed care,

including patients who are backed up in emergency departments. Because of OHA’s actions,

community hospitals are deprived of the services of its care providers, forced to incur costs

associated with housing patients who should be elsewhere, and left with no choice but to devote

significant resources to patients who have no medical reason to be there, including medication,

food, housekeeping services, security, and one-to-one sitters 24 hours a day.
4868-8709-5093.1
  COMPLAINT FOR DECLARATORY        LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 33       888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                   Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                   Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN            Document 1           Filed 09/28/22            Page 34 of 39




         85.     OHA does not provide sufficient compensation to cover the costs and fair value of

Plaintiffs’ property used to care for civilly committed patients left at Plaintiffs’ hospitals.

         86.     OHA will continue engaging in its conduct, policy, and practice unless the Court

enjoins such conduct. As demonstrated by its inaction, despite repeated pleas to OHA for help

over the years, it is clear that OHA intends to continue using community hospitals to house

civilly committed individuals indefinitely, if not permanently. Declaratory and injunctive relief

are appropriate because community hospitals lack an adequate remedy at law. Plaintiffs cannot

feasibly seek adequate and just compensation through individual legal actions for each civilly

committed patient left in Plaintiffs’ care because the expenses of pursuing so many individual

legal actions would exceed the compensation Plaintiffs seek to recover.

         87.     Plaintiffs seek a declaration that OHA’s conduct, policy, and practice violates

Plaintiffs’ and other community hospitals’ rights under Article 1, Section 18 of the Oregon

Constitution. Plaintiffs also seek a permanent injunction enjoining OHA from continuing its

conduct, policy, and practice.

          88.    Plaintiffs do not seek compensatory damages for OHA’s unlawful takings.

Plaintiffs seek only declaratory relief, injunctive relief, nominal damages, and recovery of their

attorneys fees’ and costs in bringing this action.

                                            FIFTH CLAIM

              Violation of Civilly Committed Individuals’ Rights under ORS 426.060

         89.     Plaintiffs reallege and incorporate by reference paragraphs 1 through 49 above.

         90.     OHA must direct civilly committed persons “to the facility best able to treat”

them, or delegate to a community mental health program director the responsibility for

assignment of civilly committed persons to a “suitable” facility. ORS 426.060(2)(a), (d).

         91.     OHA’s conduct, policy, and practice violates its statutory duties under

ORS 426.060 by deliberately failing to make any placement decision for civilly committed

individuals. Instead of being placed in the facility “best able to treat” them or a “suitable facility”

4868-8709-5093.1
  COMPLAINT FOR DECLARATORY       LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 34      888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                  Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                  Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN              Document 1           Filed 09/28/22            Page 35 of 39




at the time of commitment, OHA is choosing to leave civilly committed individuals indefinitely

in acute care hospitals, and deliberately failing to make any placement decision for them as

contemplated by the statute.

         92.       OHA will continue engaging in its conduct, policy, and practice unless the Court

enjoins such conduct. As demonstrated by its inaction, despite repeated pleas to OHA for help

over the years, it is clear that OHA intends to continue using community hospitals to house

civilly committed individuals indefinitely, if not permanently. Declaratory relief is appropriate

because community hospitals lack an adequate remedy at law.

         93.       Plaintiffs seek a declaration that OHA’s conduct, policy, and practice violates

its duties under ORS 426.060, and that OHA has a legal duty to provide civilly committed

individuals meaningful treatment during their 180-day commitment and place civilly committed

individuals in the facility best able to treat them or a suitable facility at the time of commitment.

          94.      Plaintiffs do not seek compensatory damages for OHA’s statutory violations.

Plaintiffs seek only declaratory relief, injunctive relief, nominal damages, and recovery of their

attorneys fees’ and costs in bringing this action.

                                              SIXTH CLAIM

              Violation of Civilly Committed Individuals’ Rights under ORS 426.150(1)

         95.       Plaintiffs reallege and incorporate by reference paragraphs 1 through 49 above.

         96.       When an individual is civilly committed, “[OHA] or its designee shall take the

person with mental illness into its custody, and ensure the safekeeping and proper care of the

person until the person is delivered to an assigned treatment facility or to a representative of the

assigned treatment facility.” ORS 426.150(1).

         97.       OHA’s conduct, policy, and practice violates its statutory duties under

ORS 426.150(1). Once individuals are civilly committed, OHA is failing to take custody of these

individuals and ensure the safekeeping and proper care of these individuals until they are

delivered to an assigned treatment facility or to a representative of the assigned treatment

4868-8709-5093.1
  COMPLAINT FOR DECLARATORY         LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 35        888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                    Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                    Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN            Document 1           Filed 09/28/22            Page 36 of 39




facility. Instead, OHA is leaving civilly committed individuals in acute care community hospitals

where they are initially detained for emergency purposes on a notice of mental illness, and

failing to place patients after they are civilly committed.

         98.    OHA will continue engaging in its conduct, policy, and practice unless the Court

enjoins such conduct. As demonstrated by its inaction, despite repeated pleas to OHA for help

over the years, it is clear that OHA intends to continue using community hospitals to house

civilly committed individuals indefinitely, if not permanently. Declaratory relief is appropriate

because community hospitals lack an adequate remedy at law.

         99.    Plaintiffs seek a declaration that OHA’s conduct, policy, and practice violates its

duties under ORS 426.150, and that OHA has a legal duty to take civilly committed individual

into its custody, and ensure the safekeeping and proper care of them by delivering them to an

assigned treatment facility that is best able to treat them or a suitable facility.

          100. Plaintiffs do not seek compensatory damages for OHA’s statutory violations.

Plaintiffs seek only declaratory relief, injunctive relief, nominal damages, and recovery of their

attorneys fees’ and costs in bringing this action.

                                         SEVENTH CLAIM

 Violation of Civilly Committed Individuals’ Rights under ORS 659A.142(5)(a) and (6)(a)

         101.   Plaintiffs reallege and incorporate by reference paragraphs 1 through 49 above.

         102.   ORS 659A.142(5)(a) provides that “[i]t is an unlawful practice for state

government to exclude an individual from participation in or deny an individual the benefits of

the services, programs or activities of state government or to make any distinction,

discrimination or restriction because the individual has a disability.”

         103.   ORS 659.142(6)(a) provides that “[i]t is an unlawful practice for a provider or any

person acting on behalf of a provider to discriminate by doing any of the following based on the

patient’s race, color, national origin, sex, sexual orientation, gender identity, age or disability:

(A) Deny medical treatment to the patient that is likely to benefit the patient based on an

4868-8709-5093.1
  COMPLAINT FOR DECLARATORY       LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 36      888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                  Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                  Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN             Document 1           Filed 09/28/22            Page 37 of 39




individualized assessment of the patient using objective medical evidence; or (B) Limit or

restrict in any manner the allocation of medical resources to the patient.”

         104.    OHA’s conduct, policy, and practice violates its statutory duties under ORS

659A.142(5)(a) because OHA is excluding civilly committed individuals from admission to

OSH, and denying them an alternative appropriate long-term placement when they are civilly

committed to the custody of OHA for 180 days of treatment.

         105.    OHA’s conduct, policy, and practice violates its statutory duties under ORS

659A.142(6)(a) because OHA is discriminating against civilly committed individuals by denying

them appropriate long-term treatment once they are civilly committed to the custody of OHA,

and limiting and restricting the allocation of resources to them.

         106.    OHA will continue engaging in its conduct, policy, and practice unless the Court

enjoins such conduct. As demonstrated by its inaction, despite repeated pleas to OHA for help

over the years, it is clear that OHA intends to continue using community hospitals to house

civilly committed individuals indefinitely, if not permanently. Declaratory and injunctive relief

are appropriate because community hospitals lack an adequate remedy at law.

         107.    Plaintiffs seek a declaration that OHA’s conduct, policy, and practice violates

Plaintiffs’ rights under ORS 659A.142(5)(a) and (6)(a). Plaintiffs also seek a permanent

injunction pursuant to ORS 659A.885(1) enjoining OHA from continuing its statutory violations

and their attorneys’ fees pursuant to ORS 659A.885(8)(d).

                                       RELIEF REQUESTED

         Plaintiffs respectfully request the following relief:

         A.      Declare that OHA’s conduct, policy, and practice regarding civilly committed

individuals violates the Fifth and Fourteenth Amendments to the United States Constitution

because:

                     i. They force community hospitals to house and treat civilly committed

              individuals indefinitely, thus occupying and taking their property, despite the fact that

4868-8709-5093.1
  COMPLAINT FOR DECLARATORY        LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 37       888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                   Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                   Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN                Document 1         Filed 09/28/22            Page 38 of 39




              community hospitals are not equipped, staffed, or designed to provide long-term care

              and treatment appropriate for civilly committed individuals;

                     ii. There is no state law procedure for community hospitals to contest being

              forced to house civilly committed individuals;

                     iii. They result in a taking of community hospitals’ private property for public

              use without just compensation;

                     iv. They result in a violation of civilly committed individuals’ right to receive

              appropriate treatment and, further, deny liberty interests arising from state law; and

                     v. There is no state law procedure for community hospitals to ensure that

              civilly committed individuals are placed by OHA in the facility best able to treat them

              or even a suitable facility.

         B.      Declare that OHA’s conduct, policy, and practice regarding civilly committed

individuals violates Article I, Section 18, of the Oregon Constitution because they result in a

taking of Plaintiffs’ and other community hospitals’ private property for public use without just

compensation.

         C.      Declare that OHA’s conduct, policy, and practice regarding civilly committed

individuals violates its duties under ORS 426.060, and that OHA has a legal duty to provide

civilly committed individuals meaningful treatment during their 180-day commitment and place

them in the facility best able to treat them or a suitable facility at the time of commitment.

         D.      Declare that OHA’s conduct, policy, and practice regarding civilly committed

individuals violates its duties under ORS 426.150, and that OHA has a legal duty to take civilly

committed individuals into its custody, and ensure the safekeeping and proper care of them by

delivering them to an assigned treatment facility best able to treat them or a suitable facility.

         E.      Declare that OHA’s conduct, policy, and practice regarding civilly committed

individuals violates ORS 659A.142(5) and (6).

         F.      Permanently enjoin OHA from continuing to violate civilly committed patients’

4868-8709-5093.1
  COMPLAINT FOR DECLARATORY         LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 38        888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                    Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                    Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN          Document 1           Filed 09/28/22            Page 39 of 39




due process rights to liberty and hospitals’ due process rights to property, and from continuing to

take hospitals’ property without just compensation, and further requiring OHA to fulfill its

obligations to provide civilly committed patients the care and treatment they are entitled to by

law.

         G.    Award Plaintiffs nominal damages and their reasonable attorneys’ fees and costs

in this action pursuant to 42 U.S.C. § 1988(b) and ORS 659A.885(8)(d); and

         H.    Grant such further relief as justice requires.

         DATED this 28th day of September, 2022.

                                             LEWIS BRISBOIS BISGAARD & SMITH LLP



                                             By: s/ Eric J. Neiman
                                                 Eric J. Neiman, OSB #823513
                                                 Emma P. Pelkey, OSB #144029
                                                 Telephone: 971.712.2800
                                                 Facsimile: 971.712.2801


                                             PERKINS COIE, LLP



                                             By: s/ Misha Isaak
                                                 Misha Isaak, OSB #086430
                                                 Alex Van Rysselberghe, OSB #174836
                                                 Telephone: 503.727.2000
                                                 Facsimile: 503.727.2222

                                                    Attorneys for Plaintiffs




4868-8709-5093.1
  COMPLAINT FOR DECLARATORY     LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  AND INJUNCTIVE RELIEF - 39    888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
                                Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
